






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. AP-76,449




EX PARTE STEPHEN MATTHEW BRODIE, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. F93-00333 IN THE 204TH  DISTRICT COURT
FROM DALLAS COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.
&nbsp;
O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant pleaded guilty and was convicted
of aggravated sexual assault of a child and sentenced to five years’ imprisonment. He is suffering
collateral consequences from this discharged sentence in that he is required to register as a sex
offender due to this conviction.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;There is new evidence which shows Applicant’s actual innocence.  A fingerprint and a hair
from the crime scene do not match Applicant, but instead match a person who has pleaded guilty to
a similar crime and admitted involvement in this crime.  Applicant alleges that the new evidence
shows that he is actually innocent of the crime of which he is convicted.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that Applicant has established by clear and convincing
evidence that in light of the new evidence, no reasonable juror would convict him.  The State and
the trial court both recommend granting relief.  Applicant is entitled to relief.  Ex parte Elizondo, 947
S.W.2d 202, 209 (Tex. Crim. App. 1996). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relief is granted.  The judgment in Cause No. F93-00333 in the 204th Judicial District Court
of Dallas County is set aside, and Applicant is remanded to the Dallas County Sheriff to answer the
charge against him.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional
Institutions Division and Pardons and Paroles Division.
&nbsp;
Delivered: November 10, 2010
Do Not Publish


